     Case 2:15-cv-04378-MWF-JEM Document 54 Filed 11/05/18 Page 1 of 3 Page ID #:882



 1    JEFFREY BOSSERT CLARK
      Assistant Attorney General
 2    Environment and Natural Resources Division
 3    CLARE M. BORONOW
      clare.boronow@usdoj.gov
 4    Trial Attorney, Admitted to the Maryland Bar
      U.S. Department of Justice
 5    Environment and Natural Resources Division
      Natural Resources Section
 6
      999 18th Street
 7    South Terrace, Suite 370
      Denver, CO 80202
 8    T: (303) 844-1362 / F: (303) 844-1350
 9     Counsel for Defendants
10
11                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                                WESTERN DIVISION
13
   CENTER FOR BIOLOGICAL DIVERSITY )                     Civ. No. 2:15-cv-04378-MWF/JEM
14 and LOS PADRES FORESTWATCH,     )
                                   )                     DEFENDANTS’ STATUS REPORT
15           Plaintiffs,           )                     REGARDING PROCEEDINGS ON
                                   )                     REMAND
16
        v.                         )
17                                 )                     Judge: Hon. Michael W. Fitzgerald
   UNITED STATES BUREAU OF LAND    )
18 MANAGEMENT, et al.,             )
                                   )
19           Defendants.           )
20                                 )

21
              Per the Parties’ Settlement Agreement, Defendants hereby submit their
22
       quarterly written report regarding the status of proceedings on remand in this case.
23 See ECF No. 42-2 at 2.
24

                                                   1
                 2:15-cv-04378; Defs.’ Status Report Regarding Proceedings on Remand
     Case 2:15-cv-04378-MWF-JEM Document 54 Filed 11/05/18 Page 2 of 3 Page ID #:883



 1
             On May 3, 2017, this Court dismissed the case pursuant to the Parties’
 2     Stipulation of Dismissal and Settlement Agreement. ECF No. 43. As part of the
 3     Settlement Agreement, the Bureau of Land Management (“BLM”) agreed to prepare
 4     appropriate National Environmental Policy Act (“NEPA”) documentation to address
 5     the deficiencies identified by the Court in its Order granting in part and denying in
 6     part Plaintiffs’ and Defendants’ cross-motions for summary judgment. ECF No. 42-2
 7     at 2. BLM also agreed to make best efforts to post the cover page of any application
 8     for permit to drill (“APD”) in the Bakersfield decision area within three days of

 9     receipt. Id.

10           Since filing its last status report on August 3, 2018, BLM has continued to post

11 the cover pages of APDs submitted to the Bakersfield Field Office within three
   working days of receipt on the agency’s e-Planning website:
12
   https://eplanning.blm.gov/epl-front-office/eplanning/nepa/nepa_register.do. BLM has
13
   continued to wait at least 30 days after posting the cover page on the ePlanning
14
   website before approving an APD. BLM also posts records regarding APDs at
15
   https://reports.blm.gov/. This website allows users to identify pending APDs and
16
   review the status of APDs nationwide.
17
          Also since its last status report, BLM published in the Federal Register on
18
   August 8, 2018 a Notice of Intent for Potential Amendment to the Resource
19
   Management Plan for the Bakersfield Field Office, California, and to Prepare an
20
   Associated Supplemental Environmental Impact Statement. 83 Fed. Reg. 39116
21 (Aug. 8, 2018). The Notice of Intent initiated a 30-day public scoping process during
22 which BLM solicited public comment on relevant issues to be addressed in a
23 supplemental environmental impact statement (“SEIS”) for the planning area. Id.
24 Based on the comments received during the public scoping process, the NEPA

                                                    2
                  2:15-cv-04378; Defs.’ Status Report Regarding Proceedings on Remand
     Case 2:15-cv-04378-MWF-JEM Document 54 Filed 11/05/18 Page 3 of 3 Page ID #:884



1
       contractor selected to assist in the preparation of the SEIS has prepared a draft Public
2      Scoping Analysis. BLM anticipates publishing the final Public Scoping Analysis
3      before the end of 2018.
4            The BLM Bakersfield Field Office anticipates publishing the draft SEIS in the
5      Federal Register for public review and comment in the second or third quarter of fiscal
6      year 2019. BLM will notice public meetings during the comment period to allow
7      additional opportunities for comment on the draft SEIS. Those meetings will likely be
8      held at locations in the Central Valley and Central Coast of California within the

9      planning area.

10           Respectfully submitted this 5th day of November, 2018.

11
                                                JEFFREY BOSSERT CLARK
12                                              Assistant Attorney General
                                                Environment and Natural Resources Division
13
                                                /s/ Clare M. Boronow
14
                                                CLARE M. BORONOW
15                                              clare.boronow@usdoj.gov
                                                Trial Attorney, Admitted to the Maryland Bar
16                                              U.S. Department of Justice
                                                Environment and Natural Resources Division
17
                                                Natural Resources Section
18                                              999 18th Street
                                                South Terrace, Suite 370
19                                              Denver, CO 80202
                                                T: (303) 844-1362 / F: (303) 844-1350
20
21                                              Counsel for Defendants

22
23
24

                                                    3
                  2:15-cv-04378; Defs.’ Status Report Regarding Proceedings on Remand
